                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA


 UNITED STATES OF AMERICA                           )
                                                    )       Case No. 1:12-cr-15
 v.                                                 )
                                                    )       COLLIER / LEE
 TAMMI OWEN                                         )

                                           ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw her not guilty plea to Count One of the twenty-seven-

 count Indictment; (2) accept Defendant’s plea of guilty to Count One of the Indictment; (3)

 adjudicate Defendant guilty of the charges set forth in Count One of the Indictment; and (4)

 Defendant will remain on bond under appropriate conditions of release pending sentencing in this

 matter (Court File No. 310).      Neither party filed a timely objection to the report and

 recommendation. After reviewing the record, the Court agrees with the magistrate judge’s report

 and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

 report and recommendation (Court File No. 310) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS

 as follows:

        (1)    Defendant’s motion to withdraw her not guilty plea to Count One of the Indictment

               is GRANTED;

        (2)    Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

        (3)    Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

               Indictment; and

        (4)    Defendant SHALL REMAIN on bond under appropriate conditions of release




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            pending sentencing in this matter which is scheduled to take place on Thursday,

            October 25, 2012 at 2:00 p.m. before the Honorable Curtis L. Collier.

       SO ORDERED.

       ENTER:


                                         /s/
                                         CURTIS L. COLLIER
                                         CHIEF UNITED STATES DISTRICT JUDGE




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